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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

TERRANCE HUELL LINDSEY,                  )
BOP Reg. #10189-003,                     )
  Petitioner,                            )
                                         )   CIVIL ACTION NO. 16-00308-WS
v.                                       )
                                         ) CRIMINAL ACTION NO. 08-061-WS-N

UNITED STATES OF AMERICA,                )
  Respondent.                            )


                                        ORDER

           After due and proper consideration of the issues raised, and a de novo

     determination of those portions of the recommendation to which objection is

     made, the Report and Recommendation of the Magistrate Judge made under

     28 U.S.C. § 636(b)(1)(B), is ADOPTED as the opinion of this Court.

           Accordingly, it is ORDERED that Petitioner Lindsey’s Motion to

     Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255 (Doc. 77) be

     DENIED and DISMISSED with prejudice.

           DONE and ORDERED this the 22nd day of February, 2017.


                              s/WILLIAM H. STEELE
                              UNITED STATES DISTRICT JUDGE
